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 VIA ECF

 Honorable Lorna G. Schofield
 United States District Judge
 Southern District of New York
 500 Pearl Street
 New York, New York 10007

 Re:     Carmody v. New York University, et al., No. 1:21-cv-8186 (LGS)

Dear Judge Schofield,

Pursuant to the Court’s Individual Rules and in advance of the pre-motion conference set for
August 17, 2022, Plaintiff writes to respectfully request an adverse inference against Defendants
as a sanction for their failure and refusal to meet their discovery obligations by withholding an
entire category of relevant documents: text messages.

Background

Defendants destroyed Plaintiff’s life by abruptly terminating her employment in violation of the
law and Defendants’ own policies and in retaliation for speaking out against Defendants’
discriminatory and oppressive practices against herself and others. Plaintiff—a doctor who
worked the frontlines of a global pandemic and who excelled as a renowned academic researcher
and beloved professional mentor—has been forced to restart her career as a result of Defendants’
illegal actions. Yet starting over has been rendered impossible by Defendants’ ongoing
disparagement of Plaintiff throughout the medical field, destroying her reputation. Defendants’
pattern of quashing advocacy and systematically avoiding rules of conduct has carried over to
this very action, where Defendants have engaged in numerous attempts to avoid discovery
obligations aimed at full disclosure of relevant documents and information. Following testimony
elicited during recent depositions taken in this case, it has become clear that Defendants have
taken this practice so far as to categorically refuse to comply with their obligations to preserve,
search for, collect, and produce relevant communications by text message.

Legal Standard

Rule 37(b)(2) of the Federal Rules of Civil Procedure authorizes a court to impose sanctions
when a party “fails to obey an order to provide or permit discovery.” Fed. R. Civ. P. 37(b)(2).
Sanctions may be imposed upon a party or counsel who deliberately fails to make a disclosure
required by Rule 26(a), Fed. R. Civ. P. 37(a)(2)(A), or who provides an evasive or incomplete
disclosure. Fed. R. Civ. P. 37(a)(3). “Even in the absence of a discovery order, a court may
impose sanctions on a party for misconduct in discovery under its inherent power to manage its
own affairs.” Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99, 106 (2d Cir.
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      2002). Where the alleged breach of a discovery obligation involves the non-production of
      evidence, the Second Circuit has held that the district courts have broad discretion in fashioning
      an appropriate sanction. Id. at 107.

      Among the sanctions available under Rule 37(b)(2) are the issuance of an order that certain
      designated facts be taken as established in accordance with the claim of the party obtaining the
      order. Fed. R. Civ. P. 37(b)(2)(A). A party seeking an adverse inference instruction sought on the
      basis that the evidence was not produced in time for use at trial must show “(1) that the party
      having control over the evidence had an obligation to timely produce it; (2) that the party that
      failed to timely produced the evidence had ‘a culpable state of mind;’ and (3) that the missing
      evidence is ‘relevant’ to the party’s claim or defense such that a reasonable trier of fact could
      find that it would support that claim or defense.” Residential, 306 F.3d at 107.

      Mandatory Adverse Inference Would Appropriately Sanction Defendants’ Repeated
      Obstruction

      First, Defendants had an obligation to timely collect, review and produce relevant text messages
      in response to Plaintiffs’ Requests. Plaintiff’s First Set of Requests for Production served upon
      Defendants on January 17, 2022 (the “Requests”) defined “documents” to include text messages,
      and Defendants did not object to their production. In discussions with Defendants, the parties
      identified the individual Defendants and Drs. Catherine Jamin and Dr. Christopher Caspers as
      custodians from whom documents, including text messages, should have been collected. While
      email data appears to have been collected from these individuals, there is no indication that text
      message data was collected and processed for review and production.

      Second, Defendants have demonstrated a culpable mindset while obstructing discovery by
      repeatedly refusing to search for, collect, and produce relevant communications and failing to
      provide Plaintiff with information about their collection process for text messages, if any, despite
      repeated requests. At present, Plaintiff still does not know if any of the custodians’ phones were
      imaged, their text messages collected, and then processed using the parties’ agreed-upon search
      terms. The Second Circuit has held that determining a culpable state of mind for the failure to
      produce relevant evidence is a case-by-case approach. Specifically, “[s]uch failures occur along a
      continuum of fault – ranging from innocence through the degrees of negligence to intentionally.”
      Reilly v. Natwest Markets Grp. Inc., 181 F.3d 253, 267 (2d Cir. 1999). Defendants’ misconduct
      here is at least negligent, if not intentionally obstructive.

      Rolling productions began on March 14, 2022. By the time depositions began in June,
      Defendants had produced zero text message communications despite receiving over 1000 pages
      of text messages from Plaintiff’s personal phone (which included relevant text messages and
      group chats with Defendants). Numerous custodians—including but not limited to the individual
      Defendants—testified during their depositions that they had conducted relevant communications
      via text message. See Exhibit B (Francois Dep.) at 25:8-12 (confirming exchange of text
      messages on work-related matters with at least three other Defendants and/or on relevant issues
      with third parties); Exhibit C (Brotman Dep.) at 15:11-13, 16:15-17, 16:25-17:5, 93:25-94:7
      (same); Exhibit D (Grossman Dep.) at 118:10-22 (same); Exhibit G (Femia Dep.) at 181:2-12,
      184:10-12 (same); Exhibit E (Jamin Dep.) at 90:19-92:6 (same); Exhibit F (Abramson Dep.) at
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      72:16-22 (same). In fact, Dr. Femia engaged in a text message conversation that inadvertently
      included Plaintiff following her termination to ask for help from the other Vice Chairs to address
      resident concerns about her termination; while Plaintiff has the inadvertent text messages,
      Defendants failed to produce the chain that followed. See Exhibit A. To date, Defendants have
      only produced two screenshots of text message correspondence, which were produced in
      response to Plaintiff’s specific post-deposition requests. It is unfathomable that this was all that
      would have resulted from a meaningful collection, search, and review process.

      Plaintiff’s counsel questioned Defendants’ counsel about their text message search process
      multiple times over email and during meet-and-confers to no avail, receiving ambiguous answers
      about searches conducted by “NYU IT” (see Exhibit H) or processes developed by an out-of-
      office associate.1 Furthermore, counsel refused to allow Defendants to respond as to the
      collection and search process for these relevant text messages. See Exhibit B (Francois Dep.) at
      22:2-15; Exhibit G (Femia Dep.) at 184:18-20; Exhibit D (Grossman Dep.) at 190:1-13, 192:12-
      15. To the extent a search review process was conducted at all, deposition testimony clarified
      that it had been through the improper method of self-collection only. See Exhibit G (Femia
      Dep.) at 184:22-186:12; Exhibit E (Jamin Dep.) at 92:9-93:4; Exhibit D (Grossman Dep.) at
      192:25-193:14; see also Thomas v. City of New York, 336 F.R.D. 1, 5 (E.D.N.Y. 2020) (granting
      motion to compel chat messages where “[d]efendants’ counsel . . . rel[ied] on their client’s
      statements” to collect them). And even this improper process was evidently not employed in a
      streamlined manner across custodians. See, e.g., Exhibit F (Abramson Dep.) at 221:21-25.
      Plaintiff continued to inquire into Defendants’ text message search process right through the very
      last deposition in the case, following up for the last time on August 2, 2022. See Exhibit I. But
      Defendants’ counsel stopped responding to inquiries on this issue as the close of discovery
      approached, effectively running out the time for production to avoid their obligation altogether.

      Third, Plaintiff only sought responsive text messages to her Requests, and therefore only those
      relevant to the case.

      Plaintiff requests that this Court impose a mandatory adverse inference in connection with
      unproduced text messages to sanction Defendants’ failure to properly preserve, collect and
      search for a relevant category of documents. Defendants’ determination to keep the relevant
      documents from view suggests that the same would be highly damaging to Defendants’ case, and
      recognition of the same is an appropriate remedy for their misconduct.

      Dated: August 9, 2022                                 Respectfully submitted,




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       During a July 21, 2022 meet-and-confer, counsel stated that Plaintiff’s request for text messages
      was a “fair point,” but that he would have to “go[] back to double-check” the process with an out-
      of-office colleague “in charge” of it to find out what happened. No further information was ever
      provided to Plaintiff, despite repeated requests.
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                                               Damian R. Cavaleri


      cc:    All counsel of record (via ECF)
